Case No. 1:22-cr-00012-WJM        Document 473 filed 04/29/24 USDC Colorado pg 1
                                           of 2
Appellate Case: 24-1177       Document: 010111039841 Date Filed: 04/29/2024 Page: 1
                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                            Jane K. Castro
 Clerk of Court                                                                Chief Deputy Clerk
                                         April 29, 2024


  Mr. Christopher Hotaling
  Nixon Peabody
  70 West Madison Street, Suite 5200
  Chicago, IL 60602

  Mr. John Sandweg
  Nixon Peabody
  799 Ninth Street, N.W., Suite 500
  Washington, DC 20001-5327

  RE:       24-1177, United States, et al v. Rudolph, et al
            Dist/Ag docket: 1:22-CR-00012-WJM

 Dear Counsel:

 Your appeal has been docketed, and the appeal number is above. Within 14 days from
 the date of this letter, Appellant’s counsel must electronically file:

     •   An entry of appearance and certificate of interested parties per 10th Cir. R.
         46.1(A) and (D).
     •   A docketing statement per 10th Cir. R. 3.4.
     •   A transcript order form or notice that no transcript is necessary per 10th Cir.
         R. 10.2. This form must be filed in both the district court and this court.
     •   Please note: A defendant-appellant’s trial counsel in criminal and post-conviction
         cases must perfect the appeal before seeking to withdraw. This is the case even if
         counsel did not file the notice of appeal. Perfecting the appeal requires filing, at a
         minimum, an entry of appearance and a docketing statement. 10th Cir. R. 46.3(A).

 In addition, all counselled entities that are required to file a Federal Rule of Appellate
 Procedure 26.1 disclosure statement must do so within 14 days of the date of this letter.
 All parties must refer to Federal Rule of Appellate Procedure 26.1 and Tenth Circuit Rule
 26.1 for applicable disclosure requirements. All parties required to file a disclosure
 statement must do so even if there is nothing to disclose. Rule 26.1 disclosure statements
 must be promptly updated as necessary to keep them current.
Case No. 1:22-cr-00012-WJM      Document 473 filed 04/29/24 USDC Colorado pg 2
                                         of 2
Appellate Case: 24-1177     Document: 010111039841 Date Filed: 04/29/2024 Page: 2
 Also within 14 days, Appellee’s counsel must electronically file an entry of appearance
 and certificate of interested parties. Attorneys that do not enter an appearance within
 the specified time frame will be removed from the service list.

 The Federal Rules of Appellate Procedure, the Tenth Circuit Rules, and forms for the
 aforementioned filings are on the court’s website. The Clerk’s Office has also created a
 set of quick reference guides and checklists that highlight procedural requirements of
 appeals filed in this court.

 Please contact this office if you have questions.

                                             Sincerely,



                                             Christopher M. Wolpert
                                             Clerk of Court



  cc:      William Bennett=Gillespie
           Kurt Bohn
           John W. Dill
           Bryan David Fields
           J. Bishop Grewell
           David Oscar Markus
           Anita Margot Moss
           Lauren Doyle Perez
           Edwin Garreth Winstead III



  CMW/lg




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